

People v Arroyo (2023 NY Slip Op 01945)





People v Arroyo


2023 NY Slip Op 01945


Decided on April 13, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 13, 2023

Before: Renwick, A.P.J., Moulton, Shulman, Rodriguez, Pitt-Burke, JJ. 


SCI No. 3847/15 Appeal No. 36 Case No. 2017-1193 

[*1]The People of the State of New York, Respondent,
vElias Arroyo, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Kristina Schwarz of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Alan Gadlin of counsel), for respondent.



Judgment, Supreme Court, New York County (Larry Stephen, J., at plea and sentencing) rendered May 11, 2016, convicting defendant, upon his plea of guilty, of criminal possession of a weapon in the fourth degree, and sentencing him, as a second felony offender, to time served, unanimously reversed, as a matter of discretion in the interest of justice, the conviction vacated and the accusatory instrument dismissed.
The People, in the exercise of their broad prosecutorial discretion, have agreed that the accusatory instrument should be dismissed under the particular circumstances of this case and in light of recent legislation amending Penal Law § 265.01 to effectively decriminalize the simple possession of gravity knives, notwithstanding that this
amendment does not apply retroactively. We agree (see People v Alston, 184 AD3d 415 [1st Dept 2020]; People v Caviness, 176 AD3d 522 [1st Dept 2019], lv denied 34 NY3d 1076 [2019]).THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 13, 2023








